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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: July 12, 2019



________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON


In re: TAGNETICS, INC.,                          Case No.   19‐30822

                          Debtor                 Judge Humphrey
                                                 Chapter 7




   Order Fixing Date for Filing Response to Motion to Compel Production of Documents


        On July 11, 2019 counsel for Petitioning Creditors Kayser Venures Ltd. and S‐Tek Inc.
filed a Motion to Compel the Production of Documents (doc. 50) (the “Motion”).

       Any response to the Motion (doc. 50) shall be filed and served in accordance with
Local Bankruptcy Rule 9013‐3 not later than July 18, 2019 at 12:00 p.m. (noon) (Eastern
Time). LBR 7026‐1(b).

      In the absence of a timely filed response, the court may grant all relief requested in
the Motion.
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      Further, until all discovery issues have been resolved, the parties shall cooperate
with each other and promptly and diligently proceed with discovery in accordance with
LBR 7026‐1(a).

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

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Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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